4:13-cr-03130-JMG-CRZ    Doc # 389    Filed: 03/26/15   Page 1 of 2 - Page ID # 1554




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                             4:13-CR-3130

vs.
                                              MEMORANDUM AND ORDER
DARIO CABALLERO-ARREDONDO,

                  Defendant.

       This matter is before the Court on the defendant's motion to withdraw
his plea. Filing 388. On January 7, 2015, Defendant pleaded guilty to both
counts in the second superseding indictment, which charged one count of
conspiracy to distribute methamphetamine, in violation of 21 U.S.C. §§ 841
and 846, and one count of conspiracy to commit money laundering, in
violation of 18 U.S.C. § 1956(a)(1)(B)(i) and (h). Filing 326. At the change of
plea hearing, defendant was fully advised of these charges, his rights, and
the possible penalties, during a thorough and complete Rule 11 colloquy. Fed.
R. Crim. P. 11; filing 369. The Magistrate Judge found that defendant's plea
was knowing, intelligent, and voluntary, and that there existed a factual
basis for the plea. Therefore, the Magistrate Judge recommended that this
Court accept defendant's plea. Filing 364. On February 2, 2015, having
completed a de novo review of the record, this Court accepted the Magistrate
Judge's recommendation and accepted defendant's plea. This Court also
found that a factual basis existed and that the defendant's plea was knowing,
intelligent, and voluntarily given. Filing 370.
       A guilty plea is a solemn act not to be set aside lightly. United States v.
Bowie, 618 F.3d 802, 811 (8th Cir. 2010). The Court may allow a defendant to
withdraw his guilty plea only if he shows a "fair and just reason." Fed. R.
Crim. P. 11(d)(2)(B). In addition to a "fair and just reason" for withdrawal,
the Court may consider whether the defendant asserts his legal innocence to
the charge, the length of time between the guilty plea and the motion to
withdraw, and whether the withdrawal would prejudice the government.
Bowie, 618 F.3d at 811. But if a defendant fails to show a fair and just reason
for withdrawing his plea, the Court need not address the remaining
considerations. United States v. Teeter, 561 F.3d 768, 770 (8th Cir. 2009).
       Defendant states that he wishes to withdraw his plea because he
pleaded guilty without the benefit of a plea agreement, and he now wishes to
4:13-cr-03130-JMG-CRZ   Doc # 389   Filed: 03/26/15   Page 2 of 2 - Page ID # 1555




either reach a plea agreement with the Government or proceed to trial.
Defendant also states that he wishes to withdraw his plea because he
"disagrees with" the presentence investigation report (PSR). Filing 388 at 2.
Neither of these reasons suffice. Post-plea regrets by a defendant caused by
contemplation of the prison term he faces, or similar reasons, are not
sufficient to permit withdrawal of a plea. See Teeter, 561 F.3d at 770–71.
Defendant's objections to the PSR are before the Court and will be resolved at
sentencing.

      THEREFORE, IT IS ORDERED:

      1.   Defendant's motion to withdraw his plea (filing 388) is denied.

      Dated this 26th day of March, 2015.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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